Filed 03/21/20                                                  Case 19-12351                                                                     Doc 77
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 19-12351-B
    Erica Alejandra Gomez                                                                                      Chapter 13
             Debtor
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-1                  User: pdes                         Page 1 of 1                          Date Rcvd: Mar 19, 2020
                                          Form ID: pdf030                    Total Noticed: 3

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    Mar 21, 2020.
    db             +Erica Alejandra Gomez,   3221 W Cecil Ave,   Visalia, CA 93291-8749
    aty            +Thomas O. Gillis,   1006 H St #1,   Modesto, CA 95354-2384

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    tr              E-mail/Text: bncnotices@meyer13.com Mar 20 2020 03:53:21     Michael H. Meyer,   PO Box 28950,
                     Fresno, CA 93729-8950
                                                                                                TOTAL: 1

                 ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
    aty*             +Thomas O. Gillis,   1006 H St #1,   Modesto, CA 95354-2384
                                                                                                                        TOTALS: 0, * 1, ## 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.

    Transmission times for electronic delivery are Eastern Time zone.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
    Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
    by the bankruptcy rules and the Judiciary’s privacy policies.
    Date: Mar 21, 2020                                             Signature: /s/Joseph Speetjens

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                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on March 19, 2020 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 03/21/20                                         Case 19-12351                                           Doc 77



                                             UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF CALIFORNIA


                  In re                                          )   Case No. 19-12351 - B - 13
                  Erica Alejandra Gomez,                         )   Docket Control No. MHM-5
                  Debtor.                                        )   Document No. 69
                                                                 )   Date: 03/18/2020
                                                                 )   Time: 9:30 AM
                                                                 )   Dept: B



                                                              Order


                 For the reasons set forth in the court's minutes, docket number 75,
                 IT IS ORDERED that the motion to disgorge fees is CONTINUED to April
                 29, 2020 at 9:30 a.m. in Department B, Courtroom 13, Fifth Floor, U.S.
                 Courthouse, 2500 Tulare Street, Fresno, California.




                               Mar 18, 2020




                 [69] - Motion/Application to Disgorge Fees [MHM-5] Filed by Trustee Michael H. Meyer (fdis)
Filed 03/21/20                                  Case 19-12351                                    Doc 77




                                       Instructions to Clerk of Court
                                   Service List – Not Part of Order/Judgment
                    The Clerk of Court is instructed to send the Order/Judgment or other court
                 generated document transmitted herewith to the parties below. The Clerk of
                 Court will send the Order via the BNC.


           Erica Alejandra Gomez          Michael H. Meyer              Thomas O. Gillis
           3221 W Cecil Ave               PO Box 28950                  1006 H Street #1
           Visalia CA 93291               Fresno CA 93729-8950          Modesto CA 95354
